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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

DWIGHT RUSSELL, et al.,                §
    Plaintiffs,                        §
                                       §
v.                                     §
                                       §
                                                 Case No. 4:19-cv-00226
HARRIS COUNTY, TEXAS, et al.,          §
    Defendants,                        §
                                       §
STATE OF TEXAS, et al.,                §
    Intervenor-Defendants.             §



         STATE INTERVENORS’ REPLY IN SUPPORT OF MOTION TO DISMISS
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       Throughout this litigation, Plaintiffs have been purposefully vague about the

contours of their legal theories and about what exactly the bail system in Harris

County is doing wrong. However, in their response to the Motions to Dismiss, they

finally came clean. They do not contest that Harris County follows ODonnell or that

the named Plaintiffs received all the process owed to them under that system. 1 By

Plaintiffs’ own admission, their procedural claims (procedural due process and equal

protection) fail because they cannot sue over process they already received.

       But if they already received the process owed, why keep pushing this litigation

forward? Because Plaintiffs believe that ODonnell was wrong. In their view, pretrial

arrestees were owed more relief based on a right to pretrial liberty, and they now

want this Court to afford them that relief. However, Plaintiffs’ counsel already made

these arguments before the Fifth Circuit, and that court decided that the procedures

provided in ODonnell’s model injunction were constitutionally adequate to address

such an interest. 2 This is not just State Intervenors’ view, it is also how federal courts

in both Dallas and Galveston have understood ODonnell’s holding as it relates to

Plaintiffs’ liberty interest arguments. 3 The bottom line is that ODonnell set the

constitutional floor for all the claims Plaintiffs raise in this lawsuit, even those

involving a pretrial liberty interest, and Harris County is already meeting this



       1  892 F.3d 147 (5th Cir. 2018).
       2  See ODonnell v. Harris County, Brief for Appellees, Case No. 17-20333, Doc. No. 00514100281
(Aug. 2, 2017) (hereinafter “ODonnell Appellate Brief”) at pp. 18-41 (discussing at length that Harris
County’s practices violate Plaintiffs’ substantive constitutional rights, United States v. Salerno, and
pretrial liberty.
        3 Booth v. Galveston Cty., No. 3:18-CV-00104, 2019 WL 3714455 at *8 (S.D. Tex. Aug. 7, 2019),

report and recommendation adopted, 2019 WL 4305457, at *2 (S.D. Tex. Sep. 11, 2019); Daves v. Dall.
Cty., 341 F. Supp. 3d 688, 695 (N.D. Tex. 2018).


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standard. This Court is not free to now rework or revise ODonnell to add the extra

substantive “ODonnell-plus” relief Plaintiffs now want.

        Even if this was not the case, Plaintiffs’ substantive due process arguments

are based on a stilted reading of United State v. Salerno and miss the mark for a host

of reasons. 4

        As a result, Plaintiffs lack viable claims, and this Court should grant the

Motions to Dismiss.

                                             ARGUMENT

        In their Response, Plaintiffs argue that their claims derive from two separate

lines of precedent: (1) the equal protection and procedural due process prohibitions

against jailing a person solely because of his inability to pay; and (2) a “substantive

due process” theory premised on a pretrial liberty interest under Salerno. 5 Plaintiffs

then spend the remainder of their Response making grand pronouncements about

what they believe the Constitution requires; imprecisely throwing around the phrase

“substantive right”; and trying to sow confusion about ODonnell. While it is tempting

to chase down every tangent, such an exercise would not be helpful to anyone. To

avoid briefing largely irrelevant topics, State Intervenors focus their Reply instead

on the two high-level reasons why this lawsuit fails. 6




        4 481 U.S. 739 (1987).
        5 Plaintiffs’ Omnibus Response to the 20 District Judges’ and the State Intervenors Motions to
Dismiss (hereinafter “Response”) at p. 12, ECF No. 259.
        6 State Intervenors understand that the District Court Judges are providing a robust and likely

lengthy Reply brief that will greatly overlap with the State Intervenors’ positions. To avoid duplicative
briefing, State Intervenors adopt the responsive arguments made by the District Court Judges in their
Reply herein.


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       First, the procedural claim under ODonnell, Bearden, and Rainwater fails

outright because the named Plaintiffs have already received all the process they were

entitled to under such theories. Each Plaintiff received a constitutionally required

individualized bail hearing before an impartial decisionmaker within 48 hours, who

considered the various factors required by Texas law and alternative conditions, and

who rendered a decision on the record. Plaintiffs’ Response does not contest this or

that Harris County is complying with ODonnell. Nor could it because there is now no

doubt that Plaintiffs received the due process owed under precedent, were not

detained solely because of indigency, and did not suffer an absolute deprivation of

their rights, it is axiomatic that their procedural claim fails. Plaintiffs simply cannot

maintain a federal lawsuit for procedural relief that they have already received.

       Second, as to the substantive claim, the Fifth Circuit has already considered

Plaintiffs’ pretrial liberty arguments and held that the procedures set out in ODonnell

would apply with equal force to such an interest. In their appellate brief in ODonnell,

Plaintiffs repeatedly raised their “substantive right to pretrial liberty” and held up

Salerno as the guide for a constitutionally-sufficient bail hearing. 7

       The Fifth Circuit declined to issue substantive-due-process-style relief, noting

that such relief is premised on a “fundamental substantive due process right,” which

“is [not] in view.” 8 And while the Fifth Circuit’s opinion in ODonnell dealt mostly with

a state-created interest to be bailable upon sufficient sureties, a careful reading of



       7 ODonnell Appellate Brief at pp. 18-41.
       8 ODonnell v. Harris County, 892 F.3d 147, 163 (5th Cir. 2018); Russell v. Harris County,
__ F. Supp. 3d. ___, 2020 WL 1866835 at *12 (S.D. Tex. Apr. 14, 2020).


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the opinion reveals that the court also considered a more general interest in pretrial

liberty when crafting its model injunction. 9 “With this right [to pretrial liberty] in full

view, the Fifth Circuit . . . found that the procedures required in the model injunction

struck the proper constitutional balance.” 10 Hence, regardless of how Plaintiffs try to

frame it in this case—pretrial liberty, bodily integrity, or freedom from wealth-based

detention—the Fifth Circuit has already accounted for this interest and decided the

ODonnell procedures, which Plaintiffs already received, are sufficient.

        This is not a novel position. When confronted with Plaintiffs’ arguments,

federal courts in both Dallas and Galveston reached the same conclusion that, indeed,

the process laid out in ODonnell is all an arrestee gets in the context of bail. 11

        Faced with this roadblock, Plaintiffs try to argue that this case is somehow

different from ODonnell. This effort is meritless. Not only did counsel clearly raise

the same pretrial liberty arguments in ODonnell as they do here, in their Second

Amended Complaint, they openly admit the cases are the same. Specifically, they

state that “ODonnell raises the same legal claims and challenges materially

identical bail policies and practices . . .” as are at issue in this case. 12




        9  See ODonnell, 892 F.3d at 159 (setting out procedural safeguards, after noting “that the
liberty interest of the arrestees here are particularly important: the right to pretrial liberty of those
accused (that is, presumed innocent) of misdemeanor crimes upon the courts receipt of reasonable
assurance of their return”).
         10 Daves, 341 F. Supp. 3d at 695.
         11 See Booth, 2019 WL 3714455 at *8 (noting that ODonnell’s holding and procedures

contemplated a pretrial liberty interest); Daves, 341 F. Supp. 3d at 695 (same). The courts in both
Booth and Daves were led to believe that plaintiffs’ counsel in ODonnell did not directly argue their
pretrial liberty theory at the Fifth Circuit. Clearly, neither court had the chance to read the briefs from
that appeal in which counsel repeatedly makes that very argument.
         12 Plaintiffs’ Second Amended Complaint at ¶ 14.




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       Plaintiffs cannot run away from ODonnell. Because Harris County has already

satisfied this binding precedent, there is not a meritorious claim, either procedural

or substantive, that is at issue here. Under the rule of orderliness, this Court cannot

now decide to overrule or expand ODonnell as Plaintiffs want—that is something only

an en banc Fifth Circuit can do. 13

       Even if this was not so, Plaintiffs’ Salerno arguments are still off-base.

According to Plaintiffs, Salerno ushered in a sea of change in the law governing bail

processes—one that for some unexplained reason lay dormant for three decades.

Supposedly, in rejecting a constitutional challenge to the Federal Bail Reform Act,

Salerno set a high, substantive bar for the imposition of money bail; focused

myopically on a defendants’ ability to pay; implicitly mandated strict scrutiny for

instances of pre-trial wealth-based disparate impact; and invalidated, sub silentio,

countless state bail laws in the process. Plaintiffs’ view of Salerno does not hold up

under scrutiny.

       For instance, Plaintiffs suggest that the Salerno Court held that the procedural

protections of the Federal Bail Reform Act must be satisfied before money bail is

affixed. This is false. Salerno dealt only with “the detention prior to trial of arrestees

charged with serious felonies who are found after an adversary hearing to pose a

threat to the safety of individuals or to the community which no condition of


       13  Thompson v. Dall. City Attorney’s Office, 913 F.3d 464, 467 (5th Cir. 2019) (“Under our rule
of orderliness, we may not overrule a prior panel decision absent an intervening change in the law,
such as a statutory amendment or a decision from either the Supreme Court or our en banc court.”);
Technical Automation Servs. Corp. v. Liberty Surplus Ins. Corp., 673 F.3d 399, 405 (5th Cir. 2012) (“In
this circuit, we abide by the rule of orderliness. Under this rule, a panel of three judges may not
unilaterally overrule or disregard the precedent that has been established by our previous decisions.”).



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release can dispel.” 14 This had nothing to do with “wealth-based” detention or how

bail must be set for an indigent arrestee. Furthermore, the Supreme Court did not

hold that the procedural safeguards provided by the Bail Reform Act are

constitutionally required; rather, it held they were constitutionally sufficient. 15 The

Court effortlessly rejected the constitutional challenge to those procedural

safeguards, indicating that the procedures go far beyond what the Constitution

mandates. 16 “Nowhere in the Salerno opinion did the Court say that those procedures

were constitutionally required” as Plaintiffs now claim. 17

       Next, Plaintiffs’ arguments about strict scrutiny are wrong. Salerno did not

explicitly or implicitly hold that strict scrutiny applied. Instead, “the Salerno Court’s

analysis was much closer to a relatively lenient procedural due process analysis than

it was any form of heightened scrutiny. Rather than asking if preventative detention

of dangerous defendants served a compelling or important State interest and then

demanding relatively narrow tailoring, the Court employed a general due process

balancing test between the State’s interest and the detainee’s.” 18 This seems much

closer to the balancing test utilized in ODonnell, than strict scrutiny.

       Furthermore, while Salerno discussed the importance of pretrial liberty, “that

alone does not establish that the right to pretrial liberty can be stretched by

substantive due process to require the finding Plaintiffs seek.” 19 As District Judge


       14Salerno, 481 U.S. at 755.
       15Id. at 752.
      16 See id. at 751-52.
      17 Edwards v. Cofield, 301 F. Supp. 3d 1136, 1146 (M.D. Ala. 2018) (dispatching the same

argument as the ones here related to Salerno made by largely the same group of counsel).
      18 Walker v. City of Calhoun, Ga., 901 F. 3d 1245, 1253, 1262 (11th Cir. 2018) (emphasis added).
      19 Daves, 341 F. Supp. 3d at 696.




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Godbey explained in Daves, there is a distinction “between requiring that arrestees

be granted some condition of release absent a showing that they are a flight risk, and

requiring that arrestees be granted a condition of release they can afford absent a

showing that no other condition of release is feasible.” 20 He correctly found that

ODonnell covered the former, but that the latter lacks any basis in Fifth Circuit

precedent. 21 The same result should occur here.

                                     CONCLUSION

      At the end of the day, Plaintiffs are trying to overly complicate things.

ODonnell set out the rules of the road for the claims at issue, even those involving

pretrial liberty. Because Plaintiffs now concede that Harris County has a bail system

that satisfies this standard, the Court should grant the Motions to Dismiss and allow

Plaintiffs the opportunity to ask the Fifth Circuit to revisit ODonnell. However, likely

before this ever occurs, the Fifth Circuit will resolve, again, the identical substantive

due process arguments in Daves. That case, which was fully briefed and argued in

2019, involves the exact same substantive due process arguments presented by the

same plaintiffs’ counsel. While no party can divine how the Fifth Circuit will

ultimately rule, this decision will bind this Court in resolving the only real question

here: Does substantive due process require more than what ODonnell already

provided? But until this clarity comes, Plaintiffs are bound by ODonnell, and this

Court should grant the Motions to Dismiss.




      20   Id.
      21   Id.


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Respectfully submitted.

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                             CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing instrument has
been sent by electronic notification through ECF by the United States District Court,
Southern District of Texas, Houston Division, on September 25, 2020 to all parties of
record.


                                       /s/Adam Arthur Biggs
                                       ADAM ARTHUR BIGGS
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